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     'AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                 Sheet I
                                                                                                                                             ...   ",E    .



                                              UNITED STATES DISTRICT COURT                                                       2Ul2 Gel 24 Mi to: 21
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                               ., ~:.~,U[~,Ht~;", f(:C1'l'~'
                     UNITED STATES OF AMERICA                                      AMENDED JUDGMENT IN A'CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After ~o'(v~er I; 1987)

                           AIDA AGUSTI CASTRO (5)                                  Case Number: IOCR2242 1M
                                                                                   Knut Johnson
                                                                                   Defendant's Attorney
    REGISTRATION NO. 20113298
    181 Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36)
     o
    THE DEFENDANT:
        pleadedguiltytocount(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _~________________________

     181 was found guilty on count(s) THIRTY, THIRTY-FIVE, THIRTY-SEVEN, FORTY-EIGHT OF INDICTMENT.
          after a plea of not guilty.
          Accordingly, the defendant is adjudged gUilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
     Title & Section                         Nature of Offense                                                                               Numberls)
18:1343;18:982&21:853(p)              WIRE FRAUD; CRIMINAL FORFEITURE                                                                         30,35,37,48




        The defendant is sentenced as provided in pages 2 through _ _4~_of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 181 The defendant has been found not guilty on count(s) 40.
 o    Count(s)
                                                            -----------------------------------------
                                                                        0 areD       is                   dismissed on the motion ofthe United States.
 18I Assessment: COUNT 30, $100.00; COUNT 35, $100.00; COUNT 37, $100.00; COUNT 48, $100.00.
  jgI Restitution amount to be determined following Restitution Hearing set for 12/1012012 10:00 AM before Judge Jeffrey T. Miller.

  181 Fine waived                                   18I Forfeiture pursuant to order filed              10/11/2012             , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               October 9,2012




                                                                                          DSTATES DISTRICT JUDGE

                                                                                                                                                     10CR2242 JM
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AD 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                           Judgment - Page    2     of      4
 DEFENDANT: AIDA AGUSTI CASTRO (5)
 CASE NUMBER: lOCR2242 JM
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a term of
         THIRTY-THREE (33) MONTHS AS TO EACH COUNT 30, 35, 37, 48 TO RUN CONCURRENTLY.




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         STRONGLY RECOMMENDS DEFENDANT BE DESIGNATED TO AN INSTITUTION AS SOON AS POSSIBLE.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op·m.       on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before
          o            ----------------------------------------------------------------------
               as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at __________________ • with a certified copy of this judgment.


                                                                                         UNITED STAlES MARSHAL


                                                                    By ________~~~~~~~~~__----------
                                                                                      DEPUfY UNITED STAlES MARSHAL




                                                                                                                     lOCR2242JM
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AO 2458 (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 3 - Supervised Release


DEFENDANT: AIDA AGUSTI CASTRO (5)
CASE NUMBER: lOCR2242 JM
                                                                                                    ..      Judgment-Page - L - of _ _4=--_ _




                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of;
THREE (3) YEARS AS TO EACH COUNT 30, 35, 37, 48, TO RUN CONCURRENTLY.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September J3, J 994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The  defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
    Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(1) and 3583(d).
D The    defendant shall comply with die requirements of the Sex Offender Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
    by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted ofa qualifYing offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
   I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall a,?-swer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   1)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
  11)    the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
  13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

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                   Sheet 4 - Special Conditions
                                                                                                            Judgment-Page   ~       of _~4_ _
         DEFENDANT: AIDA AGUSTI CASTRO (5)                                                             a
         CASE NUMBER: lOCR2242 JM




                                             SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.

181 Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
      probation officer.
o     Not transport, harbor, or assist undocumented aliens.
o     Not associate with undocumented aliens or alien smugglers.
o     Not reenter the United States illegally.
o     Not enter the Republic of Mexico without written permission ofthe Court or probation officer.
181   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o     Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o     Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

181 Not engage in the employment or profession of real estate, real estate financing, or any business loan programs, or any profession involving
      fiduciary responsibilities without the express approval of the probation officer.




o     Take no medication containing a controlled substance without valid medical prescription, and provide proof ofprescription to the probation of

181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
      obtained under any other name, entity, including a trust, partnership or corporation, until restitution is paid in full.
o     Seek and maintain full time employment and/or schooling or a combination ofboth.
o     Resolve all outstanding warrants within             days.
o     Complete             hours of community service in a program approved by the probation officer within
o     Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

181 Notify the Collections Unit, United States Attorney's Office, before transferring any interest in any property owned directly or indirectly by
      her, including any interest held or owned under any other name or entity, including trusts, partnerships, or corporations, until restitution is
      paid in full.




                                                                                                                                         lOCR2242JM
